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       UNITED STATES DISTRICT COURT
       EASTERN DISTRICT OF NEW YORK                    Civ Case #:
       -------------------------------------X          20cv6189(RDG)(JRC)
       SYNDIE REMY and REGINALD CHARLES

                               Plaintiffs

                                                            AMENDED
                         -against-                         COMPLAINT


       THE CITY OF NEW YORK, SGT FRANEL
       PO PHILIP TANTILLO, PO SCHRIBER,                JURY TRIAL DEMANDED
       AND JOHN/JANE DOE OFFICERS OF THE
       73RD PCT NAMES FICTITIOUS, TRUE
       NAMES UNKNOWN INTENDING TO BE
       OFFICERS OF THE 73RD PCT ON THE
       DATE AND TIME ALLEGED

                                Defendants.

       ---------------------------------------X
       S I R S:

                   Plaintiffs, by their attorney, MICHAEL B. PALILLO,

       ESQ., complaining of the Defendants herein, alleges upon

       information and belief, as follows:

                               NATURE OF THE CLAIM

                  1.   That this is an action for money damages to

       redress deprivation by Defendants of the rights secured to the

       Plaintiffs under the Constitution and Laws of the United States

       of America and under the guise of New York Law.

                  2.   The Plaintiff’s base this action upon their illegal

       seizure by various members of the New York City Police

       Department on the 23rd day of January 2020. This Court is

       authorized to grant the Plaintiffs the relief under 42 U.S.C.
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       1983 and 1988.

                                 JURISDICTION

                  3.   Jurisdiction in this matter is invoked in

       accordance with 28 U.S.C. 1331 and 28 U.S.C. 1391(b).

                                     VENUE

                  4.   Venue is proper in the Eastern District of New

       York pursuant to 28 U.S.C. 1331 and 28 U.S.C. 1391 (b) as all of

       the events and omissions giving rise to Plaintiff’s claims

       occurred in Kings County in the Eastern District of New York,

       the actual place of employment of all the individual police

       officers and the Plaintiffs reside in Kings County which is in

       the Eastern District of New York.

                                  THE PARTIES

                  5.   That at all times herein mentioned the Plaintiffs

       reside at 630 Ocean Avenue Apt. 12 B, County of Kings, State of

       New York hereinafter known as their “HOME.”

                  6.   The Plaintiff’s have resided in their “HOME” with

       their two infant children for in excess of two years prior to

       January 23, 2020 pursuant to a written lease.

                  7.   That at all times mentioned herein, THE CITY OF

       NEW YORK, hereinafter after referred to as the             “CITY” was and

       continues to be a municipal corporation existing and organized


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       by virtue of the Laws of the State of New York.

                  8.    At all times mentioned herein, THE NEW YORK CITY

       POLICE DEPARTMENT (hereinafter known as the “NYPD”) was and

       still are a Department and/or agency of the “CITY” and operates

       under its supervision, management and control.

                  9.    That at all dates and times hereinafter mentioned

       Defendant “CITY” by it’s agents, servants and/or employees,

       operated, maintained and controlled the “NYPD” and employed

       and controlled all of it’s “NYPD” police officers.

                  10.   That at all dates and times hereinafter mentioned

       Defendants SGT. FRANEL, P.O. PHILIP TANTILLO, P.O. SCHRIBER,

       “JOHN DOES” and “JANE DOES”        were employed by the Defendant

       “CITY” and were assigned to the 73rd Pct. Brooklyn, New York.

                  11.   That at all dates and times hereinafter mentioned

       the Defendants SGT. FRANEL, P.O. PHILIP TANTILLO, and P.O.

       SCHRIBER acted within the scope of their employment for the

       Defendant “CITY.”

                  12.   That at all dates and times hereinafter mentioned,

       Defendants, “JOHN DOES” and “JANE DOES” names fictitious, true

       names unknown but intended to be NYPD Officers at the time and

       place of this occurrence who were employees of the “CITY.”



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                  13.   That at all dates and times hereinafter mentioned

       the Defendants “JOHN DOE/JANE DOE” acted within the scope of

       his/her employment for the Defendant “CITY.”

                  14.   That a Notice of Claim on behalf of SYNDIE REMY

       was duly presented to the defendant “CITY” care of the

       Comptroller of the City of New York on the 21th day of February

       2020 which were within ninety (90) days of the cause of action

       accruing herein.

                  15.   That a Notice of Claim on behalf of REGINALD

       CHARLES was duly presented to the defendant “CITY” care of the

       Comptroller of the City of New York on the 21th day of February

       2020 which was within ninety (90) days of the cause of action

       accruing herein.

                  16.   That the “CITY” has demanded a hearing for SIDNEY

       REMY pursuant to §50-H of the General Municipal Law, and a

       hearing was held on August 27, 2020.

                  17.   That the “CITY” has demanded a hearing for

       REGINALD CHARLES, pursuant to §50-H of the General Municipal

       Law, and a hearing was held on August 4, 2020.

                  18.   The claim of SIDNEY REMY has been presented for

       adjustment/payment and no adjustment or payment has been held.




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                  19.   The claim of REGINALD CHARLES has been presented

       for adjustment/payment and no adjustment or payment has been

       held.
                  20.   This action has been brought within one year and

       ninety (90) days of the happening of the event complained of.


                               FACTUAL BACKGROUND


                  21.   Plaintiffs repeat, reiterate and re-alleges each

       and every allegation previously set forth as if more fully set-

       forth herein at length.

                  22.   That prior to January 22, 2020, Field Intelligence

       Officer Philip Tantillo learned that a confidential informant

       observed an individual having guns and ammunition in the “HOME”

       where Plaintiffs resided, Apartment 12 B, 630 Ocean Avenue,

       Brooklyn, New York.     Following an “investigation,” a “Warrant

       Affidavit” was signed by P.O. Tantillo wherein P.O. Tantillo

       sworn under oath the Defendants had cause to believe that guns

       and ammunition was inside Plaintiff’s “HOME” necessitating the

       issuance of a “No-Knock” warrant.

                  23.   On January 22, 2020, Judge A. Calabrese issued

       this warrant based solely on the affidavit of P.O. Philip

       Tantillo. No warrant hearing was held. P.O. Tantillo never

       testified as the investigative steps he took to establish that


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       the subject of the warrant lived at the address where the “No

       Knock Warrant” was to be served. The confidential informant

       never testified as to his observations. Based on the New York

       State Court of Appeals decision in Ferreira v City of

       Binghamton, 38 NY3d 298, (2022) defendants’ owed both Plaintiffs

       a special duty when executing the “No Knock” warrant based on

       the “No Knock” warrant.

                   24.   That the issuance of “NO KNOCK WARRANT” was based

       solely on P.O. Tantillo presenting facts which sought to

       establish that there was cause to believe that certain firearms

       and ammunition was stored, and any documents concerning the

       ownership and recent occupation of the location would be found

       inside Plaintiff’s “HOME.”

                 25.     That on January 23, 2020 approximately 6:45 a.m.

       the Plaintiff, SYDNIE REMY and the Plaintiff “REGINALD CHARLES”

       were lawfully inside their “HOME,” with their two infant

       children.

                 26.     That on the aforementioned date, time and place

       the Defendants, did break down the front door of Plaintiff’s

       “HOME” to execute the “NO KNOCK WARRANT.”

                 27.     The Defendants subjected SYDNIE REMY to degrading,

       humiliating and intentional search(s) of her body without a

       warrant or color of law, detained and arrested her, all without

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       her consent or probable cause and did commit certain acts on and

       against the Plaintiff SYDNIE REMY which, upon information and

       belief, include but is not limited to:

                      rushing toward her;

                      aim loaded firearms at her;

                      committing assault;

                      committing battery;

                      causing her to fall to the floor of her home;

                      subjecting her to an unreasonable search;
                      causing her robe to open, expose her nude body
                      in front of her husband REGINALD CHARLES;
                      failed and refused to cover her nude body with her
                      robe;

                      caused her to urinate on herself;

                      restrained her against her will;

                      touched her person without her consent;

                      searched the entire apartment;

                      threatened her;

                      interrogated her;

                      humiliated her;

                      yelled at her;

                      harassed her;

                      handcuffed her;

                      unlawfully imprisoned her;


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                       found no firearm, ammunition, etc. inside
                       the “HOME);

                       falsely arrest her;

                 28.    The Defendants seized the person of Plaintiff

       REGINALD CHARLES subjected him to degrading, humiliating and

       intentional searches of his body without a warrant or color of

       law, detained and arrested him, all without his consent or

       probable cause and did commit certain acts on and against the

       Plaintiff REGINALD CHARLES which upon information and belief,

       include, but are not limited to:

                       rushed toward him;

                       aimed loaded firearms at him;

                       committed assault;

                       committed battery;

                       pushed and threw him to the floor of his home;

                       struck him on his back;

                       subjected him to unreasonable and excessive force;

                       subjected him to an unreasonable search;

                       witnessed his wife, in handcuffs, lying on the
                       floor with her robe open, with her nude body
                       in her own urine, exposed in front of the
                       Defendants;

                       failed and refuse to cover his wife’s nude body
                       with her robe;

                       restrained him against her will;


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                      repeatedly touched his person without her consent;

                      threatened him;

                      interrogated him;

                      humiliated him;

                      yelled at him;

                      harassed him;

                      handcuffed him;

                      laughed at him while he was handcuffed;

                      unlawfully imprisoned him;

                      falsely arrested him;

                      found no firearm, ammunition, etc. inside
                      the “HOME”;

                  29.    Upon information and belief the Plaintiffs were

       detained and handcuffed for approximately forty (45) minutes at

       which time the Defendants left.

                        AS AND FOR A FIRST CAUSE OF ACTION

                  30.    Plaintiffs repeat, reiterate and re-alleges each

       and every allegation previously set forth as if more fully set-

       forth herein at length. Based on the New York State Court of

       Appeals decision in Ferreira v City of Binghamton, 38 NY3d 298,

       (2022) defendant’ owed both Plaintiffs a special duty when

       executing the “No Knock” warrant based on the “No Knock”

       warrant.


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                  31.   On January 22, 2020, the Plaintiffs were

       intentionally detained by the Defendants.

                  32.   In detaining the Plaintiffs, the Defendants were

       acting under color of State of Law, within the purview of

       41 U.S.C. 1983, and within the scope of their employment with

       the “NYPD.”

                  33.   The Plaintiffs did not resist their arrest,

       detention, imprisonment or confinement.

                  34.   The Plaintiffs were aware of their detention,

       imprisonment, arrest and confinement.

                  35.   The Plaintiffs did not consent to being detained,

       imprisoned, arrested and confined.

                  36.   Plaintiffs detention, imprisonment, arrest

       and confinement was not privileged and Plaintiff’s were detained

       and arrested without probable cause that they committed any

       crime.

                  37.   As a result of Plaintiff’s illegal detention, the

       Defendants lacked or reasonable suspicion, probable cause, or

       any other valid legal reason to effectuate the arrest and

       detention of the Plaintiffs, this detention and arrest and the

       actions of the Defendants amounted to an unlawful imprisonment,

       detainment, and arrest.

                  38.   As a result of the foregoing the Plaintiffs Fourth

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       and Fourteenth Amendment and rights under the Statutes

       and Laws of the State of New York were violated, which is

       invoked under the jurisdiction of this Court.

                  39.   As a proximate result of Defendants intentional

       and malicious actions, the Plaintiffs were greatly humiliated,

       suffered injuries to their reputation, caused them to lose

       income, and other special damages, and have suffered great

       mental anguish causing damages in an amount to be determined

       at trial, and punitive damages and attorneys’ fees.

                  40.   That solely by reason of all the foregoing,

       Plaintiffs have suffered damages and injuries in a sum to be

       determined at the time of trial.

                        AS AND FOR A SECOND CAUSE OF ACTION

                  41.   Plaintiffs repeat, reiterate and re-alleges each

       and every allegation previously set forth as if more fully set-

       forth herein at length.

                  42.   Upon information and belief that at the

       aforesaid date, time and place, Plaintiffs were assaulted and

       had hands placed on them by the Defendants herein, without the

       consent of the Plaintiffs. Based on the New York State Court of

       Appeals decision in Ferreira v City of Binghamton, 38 NY3d 298,

       (2022) defendant’ owed both Plaintiffs a special duty when

       executing the “No Knock” warrant based on the “No Knock”

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       warrant.

                  43.   That Plaintiffs in no way instigated, caused or

       contributed to the complained of conduct.

                  44.   That as a result of the assault the Plaintiffs,

       suffered, their health was impaired, they were caused to have

       hands placed on them by the Defendants, suffered great physical

       and mental distress and humiliation, their reputation and

       character were injured and they were embarrassed.

                  45.   That solely by reason of all the foregoing,

       Plaintiffs have suffered damages and injuries in a sum to be

       determined at the time of trial.

                        AS AND FOR A THIRD CAUSE OF ACTION

                  46.   Plaintiffs repeat, reiterate and re-alleges each

       and every allegation previously set forth as if more fully set-

       forth herein at length.

                  47.   That the Defendants intentionally and for the

       purpose of causing severe physical and mental distress

       conducted themselves toward the Plaintiffs in a manner so

       outrageous and shocking that it exceeded all reasonable bounds

       of decency. Based on the New York State Court of Appeals

       decision in Ferreira v City of Binghamton, 38 NY3d 298,

       (2022) defendant’ owed both Plaintiffs a special duty when

       executing the “No Knock” warrant based on the “No Knock”

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       warrant.

                  48.   That the Defendants recklessly conducted

       themselves toward the Plaintiffs in a manner so outrageous

       and shocking that it exceeded all reasonable bounds of decency.

                  49.   That solely by reason of all the foregoing,

       Plaintiffs have suffered damages and injuries in a sum to be

       determined at the time of trial.


                            AS AND FOR A FOURTH CAUSE OF ACTION

                  50.   Plaintiffs repeat, reiterate and re-alleges each

       and every allegation previously set forth as if more fully set-

       forth herein at length.

                  51.   That at all dates and times hereinafter

       mentioned the Defendants were charged with the duty to perform

       their job functions in a reasonably safe manner. Based on the

       New York State Court of Appeals decision in Ferreira v City of

       Binghamton, 38 NY3d 298, (2022) defendant’ owed both Plaintiffs

       a special duty when executing the “No Knock” warrant based on

       the “No Knock” warrant.

                  52.   That at all dates and times hereinafter

       mentioned the “CITY” instructed and educated their agents,

       servants and employees including how to perform their job

       functions.


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                  53.       That at all dates and times hereinafter

       mentioned the Defendants as aforesaid, did not perform their

       job duties in a reasonable same manner.

                  54.       That at all dates and times hereinafter

       mentioned the Defendant “CITY” their agent’s servants and/or

       employees, as set forth above, were negligent, careless and

       reckless in the performance of their job duties.

                  55.   That solely by reason of all the foregoing,

       Plaintiffs have suffered damages and injuries in a sum to be

       determined at the time of trial.

                        AS AND FOR A FIFTH CAUSE OF ACTION

                  56.   Plaintiffs repeat, reiterate and re-alleges each

       and every allegation previously set forth as if more fully set-

       forth herein at length.

                  57. That the Defendants did not take any steps to

       prevent the assault, battery, detainment, search, seizure,

       unlawful/false arrest and unlawful imprisonment of the

       Plaintiffs. Based on the New York State Court of Appeals

       decision in Ferreira v City of Binghamton, 38 NY3d 298, (2022)

       defendant’ owed both Plaintiffs a special duty when executing

       the “No Knock” warrant based on the “No Knock” warrant.

                  58. The Defendants unreasonably seized the person of

       Plaintiffs, subjected them to degrading and humiliating searches

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       of their body without a valid warrant, detained, falsely

       imprisoned and arrested them, all without their consent or

       probable cause.


                  59.    That at all times mentioned herein, each of

       the Defendants had the power and duty to restrain the other

       Defendants and prevent them from violating the law and rights of

       the Plaintiffs but that each of the Defendants failed and

       refused to perform that duty, failed and refused            to restrain

       the other Defendants, and thereby became party to the injuries

       inflicted upon the Plaintiffs.

                60.     That solely by reason of all the foregoing,

       Plaintiffs have suffered damages and injuries in a sum to be

       determined at the time of trial.

                   WHEREFORE, Plaintiffs demand judgment against the

       Defendants as follows:

                            a) On each cause of action for
                            compensatory damages against all
                            Defendants in a sum to be determined
                            at trial but in no event less than
                            ONE MILLION DOLLARS ($1,000,000.00);


                            b) For exemplary and punitive damages
                            against all Defendants in an amount to
                            be proven at trial’

                            c) For attorneys fees pursuant to 43 U.S.C.
                            1988 against all Defendants; and


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                            d) Together with the costs and
                            disbursements of this action, and for
                            such other and further relief as to
                            this Court deems just proper and
                            equitable.


       Dated: New York, New York
              November 2, 2023

                                                 /s/
                                                 ____________________________
                                                 MICHAEL B. PALILLO (MP 0044)
                                                 MICHAEL B. PALILLO, P.C.
                                                 Attorney for Plaintiffs
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                      MICHAEL B. PALILLO, an attorney duly admitted to practice law in the Courts

        of the State of New York affirms the following under penalties of perjury:

                      1.   I am the attorney for the Plaintiff in the above captioned matter. I have read

       the foregoing AMENDED COMPLAINT and know the contents thereof; the same is true to my

       knowledge, except as to matters herein stated to be alleged upon information and belief, and as

       to those matters I believe to be true based on a review of the files maintained in this office and

       conversations had with the Plaintiff. The reason why this verification is made by the

       undersigned attorney rather than the Plaintiff, is that the Plaintiff does not reside in the County

       wherein I maintain my office for the practice of law.

       Dated: New York, New York
             November 1, 2023

                                                               /s/
                                                               ___________________
                                                               Michael B. Palillo Esq.




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       UNITED STATES DISTRICT COURT     Civ Case #: 20cv6189(RDG)(JRC)
       EASTERN DISTRICT OF NEW YORK
       -------------------------------------X
       SYNDIE REMY and REGINALD CHARLES

                                  Plaintiffs


                            -against-                           COMPLAINT


       THE CITY OF NEW YORK, SGT FRANEL
       PO PHILIP TANTILLO, PO SCHRIBER,                      JURY TRIAL DEMANDED
       AND JOHN/JANE DOE OFFICERS OF THE
       73RD PCT NAMES FICTITIOUS, TRUE
       NAMES UNKNOWN INTENDING TO BE
       OFFICERS OF THE 73RD PCT ON THE
       DATE AND TIME ALLEGED

                                   Defendants.

       ---------------------------------------X
       ________________________________________________________________

                           AMENDED COMPLAINT
       ________________________________________________________________

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                                      Attorneys for
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       Signature (Rule 130-1.1-a)
       Michael B. Palillo
       Print name beneath
       Michael B. Palillo


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